                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                 No. 5:20-CV-00354-BO

 Henry Hallager,

                         Plaintiff,

 v.                                                                  Order

 Account Resolution Services, et al.,

                         Defendants.


       This matter comes before the court on the Plaintiff’s motion to modify the Scheduling
Orders, to which Defendant Account Resolutions Services, LLC consents. D.E. 22, 24. For good
cause shown, the court grants the motion to modify (D.E. 22).

       The Scheduling Order is amended as follows:

       1.      The parties shall make the disclosures required by Rule 26(a)(2) on the following
               schedule:

               a.     Plaintiff’s disclosures shall be made no later than Monday, July 19, 2021.
               b.     Defendant’s disclosures shall be made no later than Thursday, August 19,
                      2021.

       2.      All discovery shall be completed by Friday, September 17, 2021.

       3.      Dispositive motions are due by Monday, October 18, 2021.

       The remaining portions of the Scheduling Order that are not inconsistent with this Order
remain unchanged.



Dated: April 30, 2020.                              __________________________________
                                                    ROBERT T. NUMBERS, II
                                                    UNITED STATES MAGISTRATE JUDGE




            Case 5:20-cv-00354-BO Document 26 Filed 04/30/21 Page 1 of 1
